                    UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF WISCONSIN
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    UNITED STATES OF AMERICA,

                        Plaintiff,
                                                            Case No. 17-CR-124-JPS
                 v.

    MARCUS HUTCHINS,

                  Defendant.
________________________________________________________________________

            DEFENDANT MARCUS HUTCHINS’ OBJECTIONS
              TO THE MAGISTRATE JUDGE’S ORDER AND
               RECOMMENDATIONS (DKT. NOS. 108-09)
________________________________________________________________________

       The Court should decline to adopt the magistrate judge’s recommended

denial of defendant Marcus Hutchins’ three motions to dismiss and motion to

suppress, all of which are subject to de novo review.1 (See Dkt. No. 109; Fed. R.

Crim. P. 59(b)(3).)2 As discussed in detail below, each of the motions should be

granted for a number of compelling reasons.




1The magistrate judge also ordered denial of Mr. Hutchins’ motion for a bill of particulars and
renewed motion to compel. Mr. Hutchins is not challenging those orders. That said, he
reserves his right to renew the motion to compel as the case proceeds based on new
circumstances that may arise.

2The magistrate judge’s “Order and Report and Recommendation on Defendant’s Pretrial
Motions” is found at docket entries 108 and 109. The document is identical at both docket
entries, but 108 is labeled “Order” and 109 is labeled “Report and Recommendation.” Mr.
Hutchins objects to both the order and recommendation here.



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                           STANDARD OF REVIEW

      A party may object to a magistrate judge’s report and recommendation on

a dispositive matter and/or a motion seeking suppression of evidence. Fed. R.

Crim. P. 59(b)(2). The district court reviews de novo the recommendations of the

magistrate judge to which a party makes timely objections. 28 U.S.C. §

636(b)(1)(C); Fed. R. Crim. P. 59(b)(3). The court may “may accept, reject, or

modify the recommendation, receive further evidence, or resubmit the matter to

the magistrate judge with instructions.” Fed. R. Crim. P. 59(b)(3).

                          GENERAL BACKGROUND

      On August 2, 2017, Mr. Hutchins was sitting in an airport lounge in Las

Vegas waiting to fly home to the United Kingdom after a long week of partying

until the wee hours. He had been in town for a cybersecurity conference. At the

time, he was a 23-year-old worldwide hero renowned for his pivotal role in

stopping the “WannaCry” ransomware attack just three months before in May

2017. WannaCry infected hundreds of thousands of computers in over 150

countries, including in hospitals, banks, government agencies, and major

companies. Mr. Hutchins, a malware analysis expert, had discovered a kill

switch in WannaCry that shut down the ransomware and kept it from spreading

further. White House Homeland Security Advisor Tom Bossert would later laud




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Mr. Hutchins for his role in halting the attack, which the United States has

attributed to North Korea.3

       But that day in the airport lounge, an FBI agent from the Eastern District of

Wisconsin arrested Mr. Hutchins on an arrest warrant flowing from a six-count

indictment returned in this district. The indictment, returned a few weeks before

Mr. Hutchins’ arrest, alleged a variety of computer-related crimes tied to the

“Kronos” malware dating from approximately July 2014 to July 2015, when Mr.

Hutchins was 20 to 21 years old. Mr. Hutchins was charged with a co-defendant

whose name was redacted.

       Immediately after his arrest, that FBI agent and another one from this

district interrogated Mr. Hutchins. The agents audiotaped the interrogation, but

only in part: the recording starts while the interrogation is already in progress.

The government claims that at the beginning of the interrogation, and prior to

recording, the agents advised Mr. Hutchins of his Miranda rights and that he

waived them.4



3Kevin Collier, Words of Praise But No Forgiveness for Hacker Who Stopped North Korean
Cyberattack, BUZZFEED NEWS, Dec. 19, 2017, https://www.buzzfeed.com/kevincollier/words-
of-praise-but-no-forgiveness-for-hacker-who-stopped?utm_term=.lykQGxXww#.bx7mkyRgg.
See also Dep’t of Justice, North Korean Regime-Backed Programmer Charged With Conspiracy to
Conduct Multiple Cyber Attacks and Intrusions (Sept. 6, 2018),
https://www.justice.gov/opa/pr/north-korean-regime-backed-programmer-charged-
conspiracy-conduct-multiple-cyber-attacks-and.

4In doing so, the DOJ stressed the global damage caused by WannaCry before Mr. Hutchins
effectively halted it: “WannaCry 2.0 infected hundreds of thousands of computers around the


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       After pleading not guilty, Mr. Hutchins filed a number of pretrial motions.

Specifically, he filed a motion to compel (which was granted in part), a motion to

suppress, three motions to dismiss, a renewed motion to compel (which related

to a portion of the prior motion to compel that was denied), and a motion for a

bill of particulars. (Dkt. Nos. 44, 54-58, and 73.)5

       After the May 16, 2018 evidentiary hearing on the motion to suppress but

before the magistrate judge ruled on the motions to dismiss, the motion to

suppress, the motion for a bill of particulars, and the renewed motion to compel,

the government sought and received from the grand jury on June 5, 2018 a ten-

count superseding indictment.

       The superseding indictment, which dropped the co-defendant for

unknown reasons, now alleges Mr. Hutchins committed various computer-

related crimes from July 2012 through September 2015. The superseding

indictment continues to contain criminal charges related to Kronos, but it also

goes further back into time to allege Mr. Hutchins committed computer-related

crimes when he was an 18- to 19-year-old youth. These charges relate to another

type of alleged malware called “UPAS Kit.”




world, causing extensive damage, including significantly impacting the United Kingdom’s
National Health Service.“ North Korean Regime-Backed Programmer Charged, supra note 3.

5The government’s various oppositions and the defense replies and related memoranda are not
cited.

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      As a result of the superseding indictment, the defense had to re-configure

and re-file the motions that are the subject of this objection on July 27, 2018, with

the exception of the motion to suppress.

      Due to his pretrial release conditions, Mr. Hutchins now resides in Los

Angeles and is able to continue only a reduced amount of his valuable and

much-lauded cybersecurity work—the need for which has only increased as

cyberattacks continue around the world. Notably, soon after his arrest and

despite that fact, Mr. Hutchins voluntarily agreed to assist U.S. law enforcement

investigating WannaCry. On September 6, 2018, the Department of Justice

unsealed criminal charges against a North Korean national who was allegedly

involved in a number of destructive cyberattacks, including WannaCry.


                          THE MOTION TO SUPPRESS

      A.     Introduction

      The recommended denial of the motion to suppress is flawed for a number

of reasons that flow from both its recitation of facts and the legal standard it

applies. (See Dkt. No. 109 (“Rec.”) at 3-11.) Mr. Hutchins’ post-arrest statements

should be suppressed, as well as any evidence that may have been obtained as a

result of them.

      The recommendation’s recitation of facts is missing critical details and fails

to consider important context. It over-simplifies what transpired and is mostly


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based upon an uncritical recitation of the testimony of the government’s

witnesses, two FBI agents. The recommendation often overlooks or fails to

consider evidence that contradicts or undercuts the agents’ testimony. And the

recommendation gives short shrift to exhibits, including the recorded portion of

the post-arrest interrogation.

      The legal standards the recommendation applies should also be found

lacking. The recommendation does not rely on important caselaw that sheds

light on how the agents’ testimony should be evaluated and the motion decided.

      These two important flaws—a faulty recitation of the facts and an

incomplete and deficient application of the law—infect the entirety of the

recommendation’s analysis. When the facts and law are properly considered and

applied, the recommendation should not be adopted and Mr. Hutchins’ motion

to suppress should be granted.

      B.     Background

      Involved in the arrest and questioning of Mr. Hutchins at the Las Vegas

airport were two FBI agents, Lee Chartier and Jamie Butcher. They are the same

agents who testified at the evidentiary hearing on Mr. Hutchins’ suppression

motion.

      At the outset, the Court should be aware that the agents coordinated their

testimony. During the evidentiary hearing, Agent Butcher revealed what seems

fair to label collusion: she and Agent Chartier got together during the pendency

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of Mr. Hutchins’ suppression motion to, in her words, “mak[e] sure that we were

on—you know, that our facts were the same.” (Transcript of Hearing (“Tr.”)

112:4-5.) The magistrate judge’s recommendation relies heavily on the agents’

testimony, yet neglects to mention this admission by Agent Butcher.

       The arrest was executed by Agent Chartier—who was casually dressed

and wearing nothing identifying him as an FBI agent—and two uniformed

customs agents as Mr. Hutchins sat in an airline lounge awaiting a flight home to

the United Kingdom. (Id. 17:12-13; 18:10-12.) Mr. Hutchins had been in Las

Vegas for over a week during DEF CON, an information security conference.

Under those circumstances, Mr. Hutchins—a UK citizen—would have

reasonably believed the agents wanted to speak to him about an issue related to

his travels, his conduct while in Las Vegas, or even the WannaCry ransomware

attack three months earlier for which he had gained global recognition.6

       Indeed, the arrest plan was designed to confuse Mr. Hutchins. Agent

Chartier testified that the original plan was to arrest Mr. Hutchins as he boarded

his flight home. (Id. 65:8-13.) This plan—maximizing Mr. Hutchins’ time

experiencing normal travel—would have led Mr. Hutchins (or a reasonable




6There was unfortunate speculation floating around that Mr. Hutchins stopped the attack after
he accidentally released the ransomware himself. This has since been refuted. As noted above,
the United States attributed WannaCry to North Korea, and a North Korean national was
subsequently charged with offenses stemming from that attack and others.

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person in his shoes) to further miscomprehend the nature of and likely reason for

his arrest.

       The agents did not find Mr. Hutchins at the airport by accident. The FBI

had conducted surveillance of him while he was in Las Vegas and was aware of

his travel plans. (Id. 115:20-116:4.) Agent Butcher confirmed that even though an

indictment had been returned weeks earlier, the agents chose not to arrest Mr.

Hutchins until his scheduled departure from the U.S., at the end of his trip to Las

Vegas. (Id.) The timing and manner of the arrest—which occurred after more

than a week of partying, and at the airport with the involvement of uniformed

custom officers—was meant to create confusion about what was really

happening.

       The morning of his arrest, the FBI started monitoring Mr. Hutchins at 6:44

a.m. when he was still at the Airbnb rental where he was staying, according to a

surveillance log. (Ex. 14.) The log notes Mr. Hutchins’ arrival at the airport

(12:18 p.m.), time at the ticket counter (12:34 p.m.), approach to the TSA check

point (12:39 p.m.), clearance through security (12:41 p.m.), entry to the lounge

(12:49 p.m.), and presence in the airline lounge (12:56 p.m.). There, agents took

him into custody (1:17 p.m.). (Id.)

       Agent Chartier approached Mr. Hutchins as he sat in the airline lounge.

Mr. Hutchins was not drinking alcohol, but he was exhausted from partying all



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week and staying up the night before until the wee hours, as he told the agents

during questioning. (See Ex. 1 (Audio Recording): 17:26-18:13; 58:53-59:09.)

      It should be noted that Agent Chartier conceded that during questioning,

he only asked Mr. Hutchins at that time if he was drunk, a circumstance of real

concern to the agent. (Tr. 65:11-25; 69:14-70:1.) But while Mr. Hutchins’ non-

alcoholic intoxication (like from drugs) would have been equally concerning,

Agent Chartier chose not to inquire. (Id. 69:14-70:15.) Neither did Agent

Butcher. (Id. 143:13-15.)

      Agent Chartier also testified that he revealed to Mr. Hutchins that he was

with the FBI while they were in the lounge. Agent Chartier testified that he told

Mr. Hutchins that he was under arrest pursuant to a federal arrest warrant just

after Mr. Hutchins had been detained, when the agent and the customs officers

took Mr. Hutchins from the lounge to a stairwell. (Id. 19:8-23.) But, by his own

admission, Agent Chartier did not explain the charges or what was going on,

despite Mr. Hutchins’ numerous questions to that effect as they proceeded to the

interrogation room. (Id. 19:25-20:4; 58:25-59:1.)

      In addition, Agent Chartier claimed that after he escorted Mr. Hutchins to

the interrogation room, he and Agent Butcher again advised Mr. Hutchins that

he was under arrest pursuant to a federal arrest warrant. (Id. 20:25-21:1.)

Notably, the agents did not explain anything else. Agent Chartier acknowledged

that Mr. Hutchins was not told that the arrest warrant flowed from an

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indictment, much less that the indictment charged six felony offenses stemming

from the development and sale of Kronos. (Id. 56:22-24.) Overall, the agents’

testimony suggests that they intentionally kept Mr. Hutchins in the dark about

what was happening for as long as possible (well over an hour into the

interrogation, in fact). (Id. 56:14-24 and 58:16-59:8 (Chartier); 147:17-148:12

(Butcher).)

      Further, although the agents tried to coordinate their testimony, Agent

Butcher’s testimonial account of these meaningful events was quite different

from Agent Chartier’s. She did not testify that Agent Chartier advised Mr.

Hutchins that he was under arrest pursuant to a federal arrest warrant. Only

Agent Chartier makes this claim, one that is undermined by Agent Butcher and

otherwise lacks any support in the record.

      A lengthy portion of the interrogation was audio recorded. (Ex. 1.) But

the agents did not record the part of the interview during which they—according

to their testimony in defense of the statement’s admissibility—purportedly

advised of Mr. Hutchins of his Miranda rights, answered any questions he might

have had, and had him sign a Miranda waiver form. (Id.)

      Despite the fact that Mr. Hutchins was escorted out of the lounge at 1:17

p.m. and the audio recording of the interrogation started at approximately 1:18

p.m. (see Exs. 14 and 9), Agent Chartier claimed that he read Mr. Hutchins the

Advice of Rights form (Ex. 9) and Mr. Hutchins read and signed it. (Tr. 24:25-

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25:6.) Although the form sets forth Miranda warnings and reflects Mr. Hutchins’

signature, the space designed to reflect the time those warnings were given

includes two crossed-out times (11:08 a.m. and 2:08 p.m.) and one uncrossed-out

time (1:18 p.m., which is only one minute after agents approached Mr. Hutchins

in the airline lounge). (Ex. 9.) Thus, the time at which Mr. Hutchins was advised

of his Miranda warnings is unclear at best.

       A report Agent Butcher wrote five days after the interrogation provides no

support for the agents’ claims. It only generically states: “After being advised of

the identity of the interviewing Agents, the nature of the interview and being

advised of his rights, HUTCHINS provided the following information . . .” (Ex.

13.) The memorandum does not note the time that advisement was given. (Id.)

       The recorded portion of the questioning reflects a conversation-in-progress

with one of the agents asking to look at Mr. Hutchins’ phones and any laptops in

his bags. (Ex. 1.) But Mr. Hutchins almost immediately asked, “Can you please

tell me what this about?” To which, Agent Butcher responded, “We’re going to

get to that.” (Id. at 00:30-00:32)

       But getting to “that” took a long time. The arrest warrant (Ex. 12),

according to Agent Butcher, was only shown to Mr. Hutchins over an hour into

his interrogation. (Tr. 148:2-12.) Until then, as the audio recording reveals, Mr.

Hutchins had no idea that he had been formally charged in the Eastern District of

Wisconsin, the nature of the charges, or even why he was being interrogated.

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Further, the only offense the warrant specifically references is a violation of 18

U.S.C. § 371, which the face of the warrant depicts in the vaguest of terms,

suggestive of cheating on one’s taxes: conspiracy to defraud the United States.

(Ex. 12.)

       The recorded portion of the statement captures the moment Mr. Hutchins

learned of the arrest warrant.7 Agent Chartier stated: “Okay. Well here’s the

arrest warrant. And just to be honest—if I’m being honest with you, Marcus. This

has absolutely nothing to do with WannaCry.” (Ex. 1 at 1:17:45-1:18:02.) Only

now for the first would Mr. Hutchins (or a reasonable person in his shoes) have

understood that was the case. Mr. Hutchins was never shown the indictment,

nor did anyone explain the charges to him.

       C.      Legal Standard

       The legal standard the recommendation lays out for evaluating the motion

to suppress is accurate, as far as it goes. (See Rec. at 11.) But it is the law the

magistrate judge does not cite or rely on that is the problem.

       It is true the government bears the burden here, and the defense motion is

centered around the confluence of three issues that, taken together, demonstrate

Mr. Hutchins’ post-arrest statements should be declared inadmissible. (See id. at




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 As discussed above, according to Agent Chartier, he told Mr. Hutchins about the arrest
warrant in the stairwell, although this testimony is suspect and should be rejected. (See Tr. 19:8-
23.)

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11.) Specifically: (1) Mr. Hutchins did not understand the nature and posture of

the investigation because the agents who arrested and interrogated him

intentionally withheld that information, even after Mr. Hutchins made a number

of specific inquiries seeking to understand why he was being interrogated; (2)

Mr. Hutchins was running on little sleep at the tail-end of a week-long partying

binge, about which the agents were on notice; and (3) the agents knew that Mr.

Hutchins was a citizen of the United Kingdom—one having minimal prior

contact with this country—where a defendant’s post-arrest rights are very

different than in the United States.8

       The recommendation, however, fails to note that because Mr. Hutchins

had been indicted prior to his interrogation, the magistrate judge was required to

“indulge in every reasonable presumption against waiver” and the burden is on

the government to overcome that presumption. Brewer v. Williams, 430 U.S. 387,

404 (1977); Colorado v. Connelly, 479 U.S. 157, 169 (1986). That did not happen

here. Rather, the recommendation’s oversimplified and deficient recitation of the

facts alone demonstrates she gave the benefit of any doubts to the government.



8The defense asks the Court to take judicial notice of what United Kingdom law requires, which
was first discussed in the underlying motion to suppress. (See Dkt. No. 55 at 8 fn. 1.)
Specifically, the following caution is given upon arrest (though minor wording deviations are
allowed): “You do not have to say anything. But it may harm your defence if you do not
mention when questioned something which you later rely on in Court. Anything you do say
may be given in evidence.” Police and Criminal Evidence Act 1984 Code G ¶ 3.5, Revised Code
of Practice for the Statutory Power of Arrest by Police Officers (revised July 2012),
https://www.gov.uk/government/uploads/system/uploads/attachment_data/file/117583/p
ace-code-g-2012.pdf.

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       D.    Discussion

       The recommendation fails to adequately consider a substantial number of

critical facts that support suppression. And based on a failure to consider the

case law discussed above, the recommendation fails to properly evaluate the

evidence.

       The recommendation recites a factual record beset by a problematic

combination of the uncritical acceptance of the two agents’ coordinated

testimony and the failure to fully consider the partially recorded interrogation

itself, plus other exhibits. This undermines the legal analysis, which does not

“indulge in every reasonable presumption against waiver.” Brewer, 430 U.S. at

404.

       Coloring the agents’ testimony is, of course, their pre-hearing collusion.

As Agent Butcher revealed only on cross-examination, she and Agent Chartier

got together to “mak[e] sure that we were on—you know, that our facts were the

same.” (Tr. 112:4-5.) The recommendation’s description of Agent Butcher’s

admission attempts to neutralize its significance:

       Butcher testified that she did speak to Chartier about her
       preparation meeting with the prosecutors. (Tr. 111-112.) She
       testified that in general she spoke about the interview and
       Miranda and that she wanted to make sure their facts were the
       same. (Tr. 112.)

(See Rec. at 9.) By stating things in that purely factual vein, the recommendation

ignores the testimony’s import. “Mak[ing] sure [our] facts were the same” is a

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problem, one suggesting the witnesses’ synchronization of their testimony, a

circumstance calling into question their entire characterization of events and

suggesting that any benefit of any doubt the Court has regarding what happened

should accrue to Mr. Hutchins’ favor.

      Not only was the agents’ testimony problematic, as those examples show,

but so is the recommendation’s overview and analysis of the factual record for

each of the grounds examined, namely Hutchins’: (1) impairment; (2) agent-

fueled confusion; and (3) status as a stranger in a strange land. Examples of

those problems include:

      • Example 1 (Impairment): Although the recommendation’s recitation of
        facts concedes that Agent Chartier did not ask Mr. Hutchins if he had
        used drugs, it does not acknowledge that Agent Butcher did not ask,
        either. (See Rec. at 7.) Nor does the recommendation consider the
        agents’ failure to inquire in its legal analysis of impairment. (See id. at
        12-13.)

         The fact that the agents did not ask Mr. Hutchins about drug use is
         important and should have been factored into the analysis. After all,
         the agents abandoned their arrest plan and took Mr. Hutchins into
         custody sooner than planned based on the fear he might have a single
         sip of alcohol. (Tr. 65-67.) By their appropriate but myopic focus on
         alcohol, the agents left unexplored the equally concerning possibility
         that they were questioning a man impaired by the intake of mind-
         altering substances other than alcohol.

      • Example 2 (Impairment): The recommendation’s recitation of facts
        notes that Agent Chartier generally testified that, from his perspective,
        he thought Mr. Hutchins was in a good state of mind during
        questioning. (Rec. at 6.) But the recommendation fails to note that, on
        cross-examination, Agent Chartier acknowledged that he had no basis

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           for reaching this conclusion, since he had just met Mr. Hutchins for the
           first time that day. (Tr. 45:15-18.) So basically the agent’s observation is
           not worthy of the import the recommendation gives it.

       • Example 3 (Deception): Although the recommendation notes towards
         its end that Mr. Hutchins had his handcuffs removed in the
         interrogation room, it does not factor this into how the agents might
         have deceived him into talking. (See Rec. at 17.) Rather, the
         recommendation notes that because he was handcuffed in the stairwell,
         this “would have put him on notice that he was under arrest.” But by
         the same logic, uncuffing Mr. Hutchins at the start of questioning
         would put him on notice of the opposite (i.e., if the use of cuffs
         communicates arrest, the removal of cuffs suggests a later freedom to
         leave).

       • Example 4 (Deception): The recommendation fails to consider an
         important statement Mr. Hutchins made on a post-interrogation call
         from jail about his confusion regarding the earlier questioning.9
         Specifically, Mr. Hutchins said: “So, I am not really sure what is going
         on, but I don’t think it is shit I did in like 2005.” (Ex. 10.) The Kronos-
         related charges in the original indictment alleged conduct occurring in
         2014 and 2015. Mr. Hutchins’ post-interrogation telephone
         conversation reflects his belief that he had been questioned about things
         different from the actual charges resulting in his arrest, and that he was
         still unsure what the charges stemmed from.

       • Example 5 (Deception): The recommendation abandons any critical role
         in examining the agents’ testimony, accepting each agent at their word
         when they claimed that Mr. Hutchins received Miranda warnings and
         waived those rights prior to the recorded portion of the questioning.

           As one example, the broader record suggests only one minute lapsed
           from the agents’ initial contact with Mr. Hutchins in the airline lounge,

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 The recommendation discusses Mr. Hutchins’ post-questioning jail calls only when discussing
foreign citizenship, citing it in that context as demonstrating why suppression was not merited.
(See Rec. at 16.)

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   their escorting him to a stairway where they handcuffed him and
   shared certain information with him, and their escorting him to the
   interrogation room, where they removed his handcuffs. (See Exs. 14
   and 9.) The recommendation’s factual recitation shares that same
   timeline. (See Rec. 4 and 8.) But the recommendation does not so much
   as ponder, much less answer, how all described events transpired
   within a single minute. After all, Agent Chartier’s own version of
   events involved walking Mr. Hutchins from the lounge to a stairwell;
   cuffing and engaging in stairwell conversation with Mr. Hutchins; and
   then walking Mr. Hutchins down to the interrogation room, getting
   settled there, and making introductions all before any administration of
   Miranda warnings would have occurred. (See id. at 4.) This supports
   the fact that Mr. Hutchins was not advised before questioning of his
   rights.

   As another example, the agents advanced the theory that they
   administered Miranda warnings and obtained Mr. Hutchins’ waiver
   prior to commencing interrogation, but the warnings and waiver were
   not recorded because Agent Butcher forgot to press “record” on the
   recording device. According to her testimony, she realized her mistake
   only after the interrogation was underway. But that innocent
   explanation invites a natural question, one the recommendation
   declines to ask and answer: if the agents meant to record the warnings
   and waiver but realized moments later that they had mistakenly failed
   to do so, they would have (and should have) taken a moment to re-
   advise and memorialize the warning and waiver on the recording.

• Example 6 (Deception): The recommendation overlooks that the facts it
  recites can be viewed as the agents designing an arrest plan intended to
  confuse Mr. Hutchins regarding the nature of law enforcement’s
  interest in him.

   Agent Chartier testified that the original plan was to arrest Mr.
   Hutchins as he boarded his flight home. (Rec. at 3; Tr. 65:8-13.) By
   maximizing Mr. Hutchins’ time experiencing normal travel, this would
   have led Mr. Hutchins to further miscomprehend the nature of and

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          likely reason for his arrest. Although the factual recitation does not
          note it, Agent Butcher testified that they knew of Mr. Hutchins’ arrival
          to and weeklong presence in Las Vegas. Even though an indictment
          had been returned and arrest warrant issued, they chose not to arrest
          him then or any time before he was leaving. (Tr. 115:20-116:4.)

          The agents arrested Mr. Hutchins at the last moment they deemed
          possible before he departed the country, which allowed Mr. Hutchins
          to believe that his detention was somehow related to his travels to Las
          Vegas, his conduct while there, or even WannaCry. The
          recommendation fails to acknowledge this, glossing over the agents’
          intentions.

       • Example 7 (Deception): The recommendation downplays the
         significance of the agents’ failure to advise Mr. Hutchins of the criminal
         charges he was facing despite his repeated inquiries about their nature.
         Although those facts are included in the factual recitation, the
         recommendation erroneously attaches no significance to them and their
         role in the broader voluntariness inquiry. (See, e.g., Rec at 4.)

          By his own admission, Agent Chartier did not explain the charges or
          what was going on in response to Mr. Hutchins’ numerous inquiries in
          the hallway. (Tr. 19:25-20:4; 58:25-59:1.)10 In addition, Agent Chartier
          claimed that after he eventually escorted Mr. Hutchins to the
          interrogation room, the agents again advised Mr. Hutchins that he was
          under arrest pursuant to a federal arrest warrant. (Id. 20:25-21:1.) But
          they did not explain anything else. Agent Chartier acknowledged that
          Mr. Hutchins was not told that the arrest warrant flowed from an
          indictment, much less that the indictment charged six felony offenses
          stemming from the development and sale of Kronos. (Id. 56:22-24.)

       • Example 8 (Foreign Citizen): The recommendation acknowledges that
         Agent Chartier knew Mr. Hutchins had only been to the U.S. once, but
         fails to discuss that fact in the analysis of this factor. (See Rec. at 7.)

10The defense maintains that this testimony—namely, that Agent Chartier mentioned an arrest
warrant to Mr. Hutchins—is inconsistent with his other statements, like when he showed him
the arrest warrant near the end of the interrogation. (Tr. 148:2-12.)

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              Moreover, with regard to Mr. Hutchins’ U.K. citizenship, the
              recommendation acknowledges that Mr. Hutchins did not understand
              the U.S. legal system. But then without citing to any precedent, the
              recommendation deems that circumstance legally insignificant.

          Beyond those examples, the recorded portion of the post-arrest

questioning demands more consideration than the recommendation gives it.

Although the recommendation describes the magistrate judge having listened to

the entire recording, the recommendation only relies on it to corroborate the

agents’ claims that Mr. Hutchins was not impaired from sleep-deprivation and

partying-related exhaustion. (See Rec. at 12.) But the recommendation does not

consider other statements that Mr. Hutchins made, which are relevant to the

broader voluntariness inquiry.

          The recording establishes a confused defendant and agents intentionally

refraining from clearing up the defendant’s confusion. (See Ex. 1.) Mr. Hutchins

repeatedly inquired about the nature of his arrest and interrogation. The agents’

(tactical) failure to respond was intended to mislead Mr. Hutchins, causing him

to talk from an uninformed perspective. Here are the key interrogation excerpts,

which were included in the defense’s post-hearing memorandum:11

00:30-00:3212            Hutchins:   Can you please tell me what this is about?
                         Butcher:    We’re going to get to it.

11   Dkt. No. 85 at 14-18.

12These are defense-prepared draft transcriptions of what was recorded. The times provided
are approximations. The defense provides these as an aid to Court when it listens to the audio
recording.

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                 [The agents proceeded to discuss Mr. Hutchins’ background
                 and employment for the next ten minutes. They did not
                 answer his “what is this about” question for well over an
                 hour, nor did they show him the arrest warrant or indictment.
                 Nowhere do the agents mention on the recording that they
                 started recording mid-interrogation, what happened before
                 the tape started recording, or when the recording began.]

1:40-1:55        Chartier:   All right so like I said, we have a bunch of
                             questions for you. We hope you can fill in the
                             gaps. What’s your education?

                 [Agent Chartier made this sound like an open-ended
                 investigation and did not specify the focus of his question. As
                 the Court will hear when listening to the broader recording,
                 the agents’ questioning is broad and bounces among multiple
                 topics, not just Kronos. This would leave a reasonable person
                 unclear about what is really at issue: that he is under
                 indictment, charged with crimes based on specific alleged
                 conduct.]

11:31-12:15      Hutchins:   Kronos. I know that name. That was a guy I did
                             work for awhile back. I sold him some injection
                             code or something? Is that what this is about?
                             You’re looking for the Kronos developer?
                 Chartier:   Well, I don’t think we’re looking. We know who
                             the Kronos developer is.
                 Hutchins:   You don’t—because it ain’t me . . .

                 [Although the agents implicitly revealed their suspicion that
                 Mr. Hutchins created Kronos, they failed to explain to him
                 that they have arrested him on charges related to Kronos.]

15:16-15:53      Hutchins:   Yeah, well I have an account for research
                             purposes at Malware Tech at xmpp.jp, I think it
                             is.
                 Butcher:    Are you worried about that one now? Now that
                             you’re kind of out in the public eye, research-
                             wise?
                 Hutchins:   I don’t use it for research anymore, but I am a

                                      20

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                             little worried that now, because everybody
                             knows I’m a researcher, they’re all going to come
                             back and bite me.
                 Butcher:    Right.
                 Hutchins:   Which is probably why I’m here.
                 Chartier:   No, that’s not the reason you’re here, buddy.
                 Butcher:    So you said you got rid of the laptops. . .

                 [Mr. Hutchins again expressed uncertainty about why he is
                 being interrogated. And the agents again failed to explain the
                 true purpose of the interrogation, despite being given another
                 opportunity to do so.]

27:56-29:20      Chartier:   So you haven’t had any other involvement
                             in any other pieces of malware that are out or
                             have been out?
                 Hutchins:   Only the form-grabber and the bot.
                 Chartier:   Okay. So you did say the form-grabber for
                             Kronos, then?
                 Hutchins:   Not the form-grabber for Kronos. It was an
                             earlier one released in about I’m gonna say 2014?
                 Chartier:   And what was the name of that?
                 Hutchins:   Oh, fuck. I really can’t remember. No, I’m
                             drawing a blank. I mean, like, I actually sell the
                             code. I sell it to people and then they do what the
                             fuck they want with it.
                 Chartier:   I understand, I understand, I understand. But
                             you see why we’re here?
                 Hutchins:   Yep. I can definitely see.
                 Chartier:   I mean, you know, Marcus, I’ll be honest with
                             you. You’re in a fair bit of trouble.
                 Hutchins:   Mmm-hmm.
                 Chartier:   So I think it’s important that you try to give us
                             the best picture, and if you tell me you haven’t
                             talked to these guys for months, you know, you
                             can’t really help yourself out of this hole. Does
                             that make sense?
                 Hutchins:   Yeah.
                 Chartier:   Now, I’m not trying to tell you to do something
                             you’re not doing, but I know you’re more active
                             than you’re letting on, too. Okay?

                                     21

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                  Hutchins:    I’m really not. I have ceased all criminal activity
                               involving—
                  Chartier:    Yeah, but you still have access and information
                               about these guys.
                  Hutchins:    What do you mean? Like, give me a name and I’ll
                               tell you what I know about that.
                  Chartier:    All right, why don’t you start out with this list of
                               nics.

                  [Although the agents came close to telling him why he is
                  being interrogated, they still left it up to Mr. Hutchins to
                  guess. And from there, the agents switched the focus to what
                  he might be currently doing, not anything historical like his
                  charged involvement in 2014 and 2015 with Kronos.]

35:52-36:03       Butcher:     He paid your VPS—
                  Hutchins:    If I’m going to go jail because he paid my
                               $7 VPS, I’m going to pissed.
                  Butcher:     Why did he pay for your VPS?

                  [Mr. Hutchins again made it known he was not really sure
                  why he was being interrogated.]

57:58-58:23       Chartier:   Well, you brought up WannaCry, so.
                  Butcher:     Yeah, well, we were gonna ask you about that
                               anyway.
                  Hutchins:   That’s gonna suck. [laughter]
                  Butcher:     Wow. It was quite the… Pretty overwhelming for
                              you, I guess, with all the attention it got.
                  Hutchins:   Yeah, I’m still not over it, oh man, that was
                              something. And now I guess I get to go through
                              it again, will I get indicted for whatever bullshit
                              this is.

                  [Mr. Hutchins expressed his belief that the agents were
                  interrogating him to gather information about WannaCry,
                  which garnered international headlines. He also again made
                  it clear that he did not know the nature of the case giving rise
                  to his arrest.]

1:03:45-1:03:58   Hutchins:    So can I just ask, is this just some shit to get me to

                                        22

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                              give you the [WannaCry sinkhole] domain,
                              because I know you wanted that, right?
                  Butcher:    No.
                  Hutchins:   Yeah.
                  Chartier:   No.
                  Hutchins:   No, okay.
                  Chartier:   No, this is not some shit to get us the domain.

                  [Mr. Hutchins again, over an hour into the interrogation,
                  revealed confusion about what is really going on and the
                  agents again failed to clear it up.]

1:11:06-1:11:14   Hutchins:   So do you think I’m behind it or something?
                  Chartier:   WannaCry?
                  Butcher:    No.
                  Hutchins:   Okay.

                  [Mr. Hutchins once again expressed his sense of the
                  interrogation really being about WannaCry, and the agents
                  again did not explain the true purpose.]

1:17:45-1:18:02   Chartier:   Okay. Well here’s the arrest warrant. And
                              just to be honest—if I’m being honest with you,
                              Marcus. This has absolutely nothing to do with
                              WannaCry.

                  [Over 75 minutes into the interrogation, the agents finally
                  showed Mr. Hutchins the arrest warrant. Only then did Agent
                  Chartier dispel Mr. Hutchins’ stated understanding that his
                  status was somehow tied to WannaCry.]

1:19:10-1:19:18   Chartier:   What questions do you have for us?
                  Hutchins:   I don’t really have any. Like, my only one was
                              why the hell am I here and you’ve answered that
                              pretty well.
                  Chartier:   Okay. Well, we’ll step out for a second. Give us a
                              minute to talk . . .

                  [Having finally seen the arrest warrant, Mr. Hutchins
                  expressed for the first time a very limited understanding of
                  why he might have been arrested, although even the arrest

                                       23

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                    warrant lacks any mention of Kronos, instead advising only
                    that he is charged with conspiring to defraud the United
                    States.]

      The recommendation also fails to consider how Agent Butcher’s failure to

start the audiotape at the very beginning of Mr. Hutchins’ post-arrest

interrogation leaves a gap in the record that severely prejudices him. A complete

recording—something that is unavailable to this Court—would provide

irrefutable evidence of what did and did not happen during the custodial

interrogation. The lack of a complete recording is truly unfortunate, and the

responsibility for this important evidentiary deficit rests solely at the feet of the

FBI. The magistrate judge brushes by this important point.

      Finally, the recommendation finds no basis for excluding the Advise of

Rights form and declines to do so. (Rec. at 9-10.) But the recommendation fails

to really consider that the form, as it existed whenever Mr. Hutchins signed it,

apparently no longer exists. In its place is an altered version, and the

government should not be permitted to introduce and rely on altered evidence in

defending against Mr. Hutchins’ suppression motion. See Whitlock v.

Brueggemann, 682 F.3d 567, 585 (7th Cir. 2012) (Section 1983 case explaining that

the deliberate manufacture of false evidence violates the Due Process Clause).




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       The Court should therefore exclude the altered form from the record

informing its treatment of Mr. Hutchins’ motion.13 And the Court should also

draw from the circumstance an inference adverse to the government’s position

that Mr. Hutchins was warned of and waived his constitutional rights before

making a post-arrest statement. See United States v. Laurent, 607 F.3d 895, 902 (1st

Cir. 2010) (noting that a “spoliation” instruction, allowing adverse inferences, is

“commonly appropriate” in both civil and criminal cases where it is reasonable

to conclude that evidence favorable to one side was destroyed by the other).

       E.     Conclusion

       The Court should grant the motion to suppress. When all the evidence is

considered fully and the proper legal standard is applied to the facts, which the

recommendation fails to do, this is the only conclusion one can draw.


                       THE MOTION TO DISMISS
            (FAILURE TO STATE OFFENSES AND MULTIPLICITY)

       Mr. Hutchins seeks dismissal of Counts One through Eight and Ten of the

superseding indictment for failure to state offenses on a number of grounds.

(Dkt. Nos. 92 and 95.) The Court should decline to adopt the recommendations

that those motions be denied and should, instead, dismiss these counts.




13The focus here is exclusion of the altered form from the Court’s consideration of Mr.
Hutchins’ suppression motion. The defense additionally believes that the altered form should
be declared inadmissible at trial.

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      A.     Applicable Law

      The recommendation first discusses the standard for a motion to dismiss

an indictment and its application to this case. (Rec. at 18-21.) But this discussion

misconstrues the thrust of the defense’s challenge to the indictment for its failure

to state offenses. The defense does not challenge the sufficiency of the evidence.

Rather, the defense argues that the government’s allegations are insufficient to

charge an offense as a matter of law.

      An indictment must contain “a plain, concise, and definite written

statement of the essential facts constituting the offense charged.” Fed. Rule

Crim. P. 7(c)(1). An indictment satisfies Rule 7(c)(1) if it “(1) states all the

elements of the crime charged; (2) adequately informs the defendant of the

nature of the charges so that he may prepare a defense; and (3) allows the

defendant to plead the judgment as a bar to any future prosecutions.” United

States v. White, 610 F.3d 956, 958 (7th Cir. 2010).

      However, Federal Rule of Criminal Procedure 12(b)(1) provides that a

party “may raise by pretrial motion any defense, objection, or request that the

court can determine without a trial on the merits.” Thus, Rule 12 “authorizes

dismissal of an indictment if its allegations do not suffice to charge an offense, though

“such dismissals may not be predicated upon the insufficiency of the evidence to

prove the indictment’s charges.” United States v. DeLaurentis, 230 F.3d 649, 661

(3d Cir. 2000), citing United States v. Sampson, 371 U.S. 75, 78-79 (1962) (emphasis

                                           26

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added). The key is that, here, the defense is challenging the sufficiency of the

allegations as a matter of law, not as a factual matter.

      In United States v. Risk, the Seventh Circuit upheld the pretrial dismissal of

an indictment because the facts were uncontested, and thus not in dispute. 843

F.2d 1059, 1060 (7th Cir. 1988). Thus, the district court there was able to

determine dismissal was appropriate “not because the government could not

prove its case, but because there was no case to prove.” Id.

      While it is true that discovery is not before the Court here, as it was Risk,

this is not the only posture in which a purely legal question can be before the

Court on a pretrial motion to dismiss. The superseding indictment here largely

tracks the language of the charged statutes (with the notable exception of Count

Seven, discussed below). But it does more than that: it makes additional factual

allegations that, if true, would not constitute a violation of the law. Despite

having the opportunity to correct these factual assertions in its superseding

indictment, the government elected not to do so. This is the basis for this motion.

      B.     “Damage” Under the Computer Fraud and Abuse Act

      Mr. Hutchins’s motions also seek dismissal of Counts One and Seven

because the superseding indictment does not allege any facts that would show

Hutchins caused or intended to cause “damage” as required to establish a

violation of 18 U.S.C. § 1030(a)(5)(A). (Dkt. No. 95 at 4-6.) That statute prohibits

“knowingly caus[ing] the transmission of a program, information, code, or

                                         27

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command, and as a result of such conduct, intentionally caus[ing] damage

without authorization, to a protected computer.” “Damage” is defined as “any

impairment to the availability or integrity of data, a program, a system, or

information.” 18 U.S.C. § 1030(e)(8). Mr. Hutchins argues that the allegations in

the indictment do not meet this standard.

       The recommendation that Mr. Hutchins’ motion be denied rests on the

notion that Counts One and Seven repeat the statutory language of §

1030(a)(5)(A) and that the government offers a self-composed definition of

“malware” to mean “malicious computer code intended to damage a computer.”

(Rec. at 22-23.)	 As such, the recommendation treats Counts One and Seven as

adequately pleaded, with Mr. Hutchins’ intent to cause damage left as a question

of fact for the jury. (Id. at 23.)

       Mr. Hutchins objects because the recommendation overlooks one glaring

problem: the government alleges that Kronos and UPAS Kit have a particular

functionality, which is to record and exfiltrate information. And that

functionality does not meet the statutory definition of “damage.”

       Specifically, the government alleges that Kronos “recorded and exfiltrated

user credentials and personal identifying information from protected

computers,” (First Superseding Indictment (“FSI”) ¶ 1(e)), and that UPAS Kit

“allowed for the unauthorized exfiltration of information from protected

computers” (id. ¶ 1(f)). These descriptions do not indicate that the programs

                                        28

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cause “impairment to the availability or integrity” of the data. The programs

allegedly “record” and “exfiltrate” data—that is, the programs allegedly make a

copy of data and then transmit the copy. These actions, without more, would not

constitute “damage,” as the operative statute defines it, because they do not

affect the “availability” or “integrity” of the underlying data.

         “Damage” requires more than what the superseding indictment alleges.

For example, in Int’l Airport Ctrs. LLC v. Citrin, the defendant caused “damage”

when he installed software on his employer’s computer that permanently deleted

stored files. 440 F.3d 418, 419 (7th Cir. 2006).14 And in United States v. Mitra, the

defendant caused “damage” when he disrupted the functionality of the city of

Madison’s emergency response system, which resulted in “knocking out police,

fire, and emergency response communications.” 405 F.3d 492, 494-95 (7th Cir.

2005).

         But simply copying and taking data in a manner that does not cause

disruption or impairment does not meet the statutory definition. As this Court

itself has found, “merely accessing and disseminating information” on a

computer does not meet the CFAA’s “very specific” definition of “damage.”




14
  Citrin is admittedly a civil rather than criminal case. But § 1030 is principally a
criminal statute that also has a private right of action, and its basic definitions apply
consistently in both criminal and civil contexts.
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Landmark Credit Union v. Doberstein, 746 F. Supp. 2d 990, 993-94 (E.D. Wis. 2010)

(Stadtmueller, J.).

      And the Seventh Circuit shares this Court’s perspective. In Fidlar

Technologies v. LPS Real Estate Data Solutions, Inc., a data analytics company was

accused of violating § 1030(a)(5)(A) for using a computer program to download

real estate records in bulk from county databases in violation of a technology

provider’s license agreement. 810 F.3d 1075, 1078 (7th Cir. 2016). There, the

Seventh Circuit found that the company did not cause “damage” under the

statutory definition because it did not “alter or disrupt” the technology

provider’s service—it simply downloaded information while avoiding the

provider’s attempts to track user activity. Id. at 1084; see also, e.g., Motorola, Inc. v.

Lemko Corp., 609 F. Supp. 2d 760, 769 (N.D. Ill. Apr. 19, 2009) (“The plain

language of the statutory definition [of ‘damage’] refers to situations in which

data is lost or impaired because it was erased or because (for example) a

defendant smashed a hard drive with a hammer.”); Worldspan, L.P. v. Orbitz, LLC,

2006 WL 1069128, *5 (N.D. Ill. 2006) (rejecting argument that “the mere taking of

information” constitutes “damage” within the meaning of the CFAA) (internal

quotation marks omitted).

      Because the superseding indictment does not adequately allege facts that

would show that Kronos or UPAS Kit caused “damage” within the meaning of



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the CFAA, it fails to state an offense in Counts One and Seven. The Court should

ignore the recommendation and dismiss these counts.

      C.     “Device” Under the Wiretap Act

      Mr. Hutchins urges dismissal of Counts One through Six because Kronos

and UPAS Kit are not, alone, “electronic, mechanical, or other devices” as

defined by the Wiretap Act. (Dkt. No. 95 at 6–9.) The recommended denial of

this motion relies on the rationale that the indictment tracks the Wiretap Act’s

statutory language. (Rec. at 23-25.) Mr. Hutchins objects because, again, the

allegations in the indictment do not satisfy the statutory definition.

      The Wiretap Act defines the term “electronic, mechanical, or other device”

to mean “any device or apparatus which can be used to intercept a wire, oral, or

electronic communication,” with some exceptions not relevant in this case. 18

U.S.C. § 2510(5). The statute does not define the word “device.”

      Counts Two through Five claim that Mr. Hutchins advertised, sent, and

sold the Kronos software in violation of § 2512. But these counts cannot survive

where the charges are based—as they are here—on advertising, sending, and

selling software by itself. Section 2512 makes it illegal only to advertise, send, or

sell an “electronic, mechanical, or other device” that is primarily useful for

surreptitious interception or promoted as such. Software is not a device because

it is not an “apparatus,” a “piece of equipment” or a “mechanism.” It is a

computer program, a set of instructions that tells a computer what to do. In

                                          31

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isolation, software cannot intercept anything. It must be installed and working

on a computer for there to be an interception “device.”

      According to the recommendation, United States v. Szymuszkiewicz, 622

F.3d 701, 707 (7th Cir. 2010) (as amended Nov. 29, 2010), does not support the

conclusion that software alone cannot be a device. (Rec. at 24.) The

recommendation is wrong. In Szymuszkiewicz, the defendant configured his

workplace supervisor’s email program so that it made copies of her email and

forwarded them to the defendant. Szymuszkiewicz, 622 F.3d at 703. Even though

the email program had been set up to copy the supervisor’s emails, the Seventh

Circuit did not focus on the email program, but rather the computers that were

actually performing the interceptions. Id. at 707. Specifically, the Seventh Circuit

noted that the defendant “acquired the emails by using at least three devices: [the

supervisor’s] computer (where the rule was set up), the Kansas City server

(where the rule caused each message to be duplicated and sent his way), and his

own computer (where the messages were received, read, and sometimes stored.”

Id. Even if the Court concludes that Szymuszkiewicz does not address the issue

Mr. Hutchins raises directly enough to be precedential here, Szymuszkiewicz

certainly does not suggest that software standing alone is a “device.”

      Turning to Potter v. Havlicek, the recommendation acknowledges that the

court in Potter found that “the definition of the word ‘device’ does not

encompass software such as Activity Monitor.” (Rec. at 24, quoting No. 06-CV-

                                        32

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211, 2008 WL 2556723, at **8-9 (S.D. Ohio June 23, 2008).) But, according to the

recommendation, “[t]hat determination was specific to the facts of that case,

which were not analogous to the Hutchins’ case in important ways.” (Rec. at 25.)

The recommendation does not explain, however, how the facts are different in

“important ways.” The defense notes that Potter was civil and this case is

criminal, but that is an irrelevant difference. The definition of “electronic,

mechanical, or other device” is used throughout the Wiretap Act and does not

vary depending on whether a case is civil or criminal.

      The recommendation goes on to state that “[E]ven Potter did not issue a

blanket statement that software could never qualify as a ‘device,’ only that it did

not in this case and no court had found that it did.” (Rec. at 25.) But Potter is not

so narrow. It said that “computer software alone, Activity Monitor in this case,

does not fit” a dictionary definition of the word “device.” No. 06-CV-211, 2008

WL 2556723, at *8. And Potter further explained that ”Activity Monitor alone

cannot be used to intercept communications. It must be installed in a device,

such as a computer, to be able to do so.” Id. Thus, according to Potter, software

by itself—which in that case happened to be Activity Monitor—cannot qualify as

a “device” because it cannot be used to intercept communications until it is

installed on a computer. That is just as true in this case as it was in Potter.

      Finally, the recommendation declines to adopt a “hyper-technical reading

of the statute,” suggesting that Mr. Hutchins’ interpretation “may not comport

                                          33

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with legislative intent, the ordinary meaning of [‘electronic, mechanical, or other

device’], or the (scant) existing case law.” (Rec. at 25.) But the recommendation

does not address any of these concerns—and in fact, they all weigh favor Mr.

Hutchins’ position.

          First, the ordinary understood meaning of “device” does not include

stand-alone computer programs: when we use our iPhone to play Angry Birds or

listen to Coldplay, the phone, and not the game or iTunes, is the “device.”

Consistent with our everyday understanding of the term, Merriam-Webster

Dictionary defines the word “device” to mean, inter alia, “a piece of equipment or

a mechanism designed to serve a special purpose or perform a special

function.”15 The dictionary offers as an example of usage for this definition “a

hidden recording device”—precisely the type of tool at the heart of the Wiretap

Act’s prohibitions. But a software program standing alone is neither a “piece of

equipment” nor a “mechanism.” In isolation, it does not meet the ordinarily

understood meaning of “device.”

          Moreover, the legislative history of the Wiretap Act shows no sign that

Congress intended the definition of “electronic, mechanical, or other device” to

include software standing alone. Even though Congress has amended the

Wiretap Act six times since its initial passage, it has never seen fit to expand the



15
     https://www.merriam-webster.com/dictionary/device (last visited Nov. 9, 2018).

                                               34

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definition of “electronic, mechanical, or other device” to include software. In

fact, rather than expanding the scope of §§ 2511 and 2512 in light of new

technologies, Congress has chosen to limit the reach of those statutes, increasing

the level of mens rea from “willful” to “intentional” in both. Electronic

Communications Privacy Act, Pub. L. 99-508, Title I, § 101(f), 100 Stat. 1853

(1986).

      To the extent the Court finds the statutory definition ambiguous, this is

only further reason to grant Mr. Hutchins’ motion. Criminal statutes should be

narrowly construed in favor of the accused unless Congress clearly directs

otherwise. Skilling v. United States, 561 U.S. 358, 365 (2010); Rewis v. United

States, 401 U.S. 808, 812 (1971).

      Thus, the Court should dismiss Counts One through Six.

      D.       Intent and Causation

      Mr. Hutchins moves to dismiss Counts One, Four through Eight, and Ten

because they fail to allege the necessary intent and causation to state the offenses.

(Dkt. No. 95 at 11–14.) The recommendation that these challenges be rejected

rests on the ground that the language in these counts tracks the wording of the

charged statutes, and intent and causation are questions of fact for the jury. (Rec.

at 25-26.)

      Mr. Hutchins objects because the language in these counts does not allege

the necessary intent and causation. The superseding indictment alleges merely

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the sale of Kronos and UPAS Kit to a buyer. These counts are missing the

specific intent necessary to allege criminal conduct.

      The Seventh Circuit has made clear in the context of drug-distribution

cases that a buyer-seller relationship—without more—does not establish a

conspiracy. United States v. Johnson, 592 F.3d 749, 759 (7th Cir. 2010). There must

be an agreement “to commit a crime other than the crime that consists of the sale

itself.” Id. (emphasis in original) (citations omitted). To form a conspiracy, the

seller must not only know that the buyer will re-sell the drugs—the buyer must

intend for it to happen. 7th Cir. Criminal Pattern Jury Instruction 5.10.

      Translating that well-established legal theory to what is alleged in this

case, there can be no criminal liability where Mr. Hutchins and Individual A are

merely alleged to have sold Kronos or UPAS Kit to a buyer—even if they knew

the buyer could then later use it to cause damage to a computer, intercept a

communication, or access a computer without authorization. The indictment

must also allege that Mr. Hutchins and his co-conspirator specifically intended for

the buyer to commit those acts. Mr. Hutchins and his co-conspirator’s goal—

their conspiratorial objective—must have been for those substantive crimes to

occur. But this is not alleged in the indictment.

      Nor do the allegations involving Individual B establish intent or causation

on Mr. Hutchins’ part. The superseding indictment claims that Mr. Hutchins

distributed Kronos to Individual B, and that he knew Individual B “was involved

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in the various cyber-based criminal enterprises including the unauthorized

access of point-of-sale systems and the unauthorized access of ATMs.” (FIS ¶

4(j).) But the government does not allege that Mr. Hutchins specifically intended

for Individual B to use Kronos to gain unauthorized access to computers, nor

that any such thing actually occurred.

       Thus, the Court should dismiss Counts One, Four through Eight, and Ten.

       E.       Motion to Dismiss Counts Two and Three as Multiplicitous

       Mr. Hutchins argues that Counts Two and Three are multiplicitous and

expose Mr. Hutchins to double jeopardy, so Count Three must be dismissed.

(Dkt. No. 95 at 11.)

       The recommendation that this motion be denied rests on the perception

that each count requires proof of an element the other does not. (Rec. at 26.) As

such, the recommendation states:

        Section 2512(1)(c)(i) requires (1) knowledge, or reason to know, that
       (2) the device advertised was designed to be primarily useful for
       surreptitious interception. Section 2512(1)(c)(ii) requires neither of
       these. Section 2512(1)(c)(ii), on the other hand, requires that the
       advertisement promote (1) any ‘other’ device (2) for the purpose of
       surreptitious interception.

(Rec. at 27.)

       Mr. Hutchins objects because Counts Two and Three do not each require

proof of an additional fact that the other does not: instead, they require proof of

the same facts, as noted in the underlying motion. (Dkt. No. 95 at 11.)


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Specifically, § 2512(1)(c)(i) prohibits the advertisement of an interception device

when one knows or has reason to know that the design of the device renders it primarily

useful for the purpose of surreptitious interception. And § 2512(1)(c)(ii) prohibits the

advertisement of an interception device in a manner that promotes its use for the

purpose of surreptitious interception. The same fact proves the offense charged in

both counts: when one advertises a device designed for surreptitious

interception, he promotes its use for surreptitious interception. That is the

government’s approach to Counts Two and Three.


                            THE MOTION TO DISMISS
                                (COUNT SEVEN)

      The theory of redundancy the recommendation embraces in rejecting Mr.

Hutchins’ argument that Count Seven is flawed for its failure to allege intentional

damage to computers reveals the count’s true problem: it charges a crime

different from any Congress has defined. The court should therefore not adopt

the recommendation.

      Violating § 1030(a)(5)(A) requires an act (i.e., transmitting a program), plus

an intended outcome (i.e., intentionally causing damage to protected computers).

An act that does not cause the intended outcome is not a substantive violation of

the statute.

      But § 1030(b) expands the reach of § 1030(a)(5)(A) by stating that it is also

unlawful to conspire to violate or, relevant here, attempt a violation of § 1030(a).

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Count Seven invokes this subsection in charging that Mr. Hutchins caused the §

1030(a)(5)(A) act (i.e., transmitting a program) and attempted the required

outcome. But where § 1030(a)(5)(A), itself, requires the intentional causation of

damage to protected computers, Count Seven alleges only (attempted) causation.

Mr. Hutchins’ motion complains about the count’s omission of the intentionality

requirement, a complaint the recommendation rejects by explaining that

attempts are inherently intentional so that pleading attempted intentional

damage is redundant. Logically sound as the reasoning is, it overlooks that the

count—as it is pleaded and given the recommendation’s interpretation of it—

deviates from § 1030(b) and conventional notions of inchoate offenses.

      An attempt, as the recommendation recognizes, requires that a person

intending to commit a given crime takes a substantial step towards its

commission. United States v. Barnes, 230 F.3d 311, 314 (7th Cir. 2000). Though the

crime, comprised of its elements, is not completed, the whole crime—as in all of

its elements—must be intended. United States v. Morris, 827 F.3d 696, 699 (7th

Cir. 2016) (Hamilton, J., concurring) (explaining that “an attempt to commit a

crime should be treated as an attempt to carry out acts that satisfy each element of

the completed crime”) (emphasis in original). That is the essence of an attempted

crime. See id. To the extent that an actor’s commission of an incomplete crime

involves the satisfaction of one or more—but not all—of the offense’s elements,

those represent substantial steps taken as part of the overall attempt. See Barnes,

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230 F.3d at 315 (describing a substantial step as something less than the last act

necessary to completing the crime).

      And so § 1030(b), with its declaration that an attempted violation of §

1030(a)(5)(A) is, itself, a crime, stands for the idea that it is illegal to attempt the

full crime which, again, is defined by all of its elements. An attempted violation

of § 1030(b)(5)(A) is an attempt at the prohibited act (i.e., the transmission of a

program), plus its intentional outcome (i.e., intentionally caused damage to

protected computers). But this is not what Count Seven alleges.

      Count Seven detaches the act of transmission from the intended damaging

outcome, treating the former as a completed act and the latter as an attempt.

And it is only upon this unauthorized hybridization that the recommendation’s

theory of redundancy obtains its footing.

      A proper charge under § 1030(b) would describe the whole violation of §

1030(a)(5)(A), with all of its elements, as attempted. To the extent Mr. Hutchins,

as alleged, completed the act of transmitting a program, that is not a free-

standing circumstance detached from the attempted offense. Instead, it

represents a substantial step taken in furtherance of the broader attempt. And

once the attempt is assigned its proper place and role within the count, it is not

redundant to describe the attempted substantive offense by all of its elements:

Mr. Hutchins attempted to transmit a program and, as a result, intentionally

cause damage to a protected computer. See 18 U.S.C. § 1030(a)(5)(A).

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                    THE MOTION TO DISMISS
        (IMPROPER EXTRATERRITORIAL APPLICATION OF LAW)

      This Court should not adopt the recommended denial of Mr. Hutchins’

motion to dismiss the superseding indictment due to its improper application of

United States law. (See Rec. at 30-32; Dkt. No. 96 (Mot.)) The recommendation

concludes that the superseding indictment contains only domestic applications

of law, but fails to recognize that the factual allegations do not support that

conclusion.

      Hutchins’ motion is based on three arguments. First, Congress did not

clearly indicate that the Wiretap Act is intended to have extraterritorial reach,

and Counts Two and Three are not a domestic application of the Wiretap Act as

charged. (Dkt. No. 96 at 6-12.)

      Second, Counts One through Eight and Ten violate Mr. Hutchins’ due

process rights because he did not have a sufficient nexus with the United States

during the relevant time period covered by those offenses. (Id. at 12-17.) As

such, the application of United States law to him would be arbitrary and

fundamentally unfair.

      Finally, Count Nine should be dismissed if the Court dismisses the other

counts on extraterritoriality grounds. (Id. at 17-18.) Count Nine charges a false

statement in violation § 1001(a), a statute implicated only by false statements

about a “matter within the jurisdiction of the executive, legislative, or judicial


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branch of the Government of the United States.” (FSI at 14.) Mr. Hutchins

asserts a lack of domestic jurisdiction over all the other alleged offenses, so any

false statement made by Mr. Hutchins about those offenses is not subject to

prosecution under § 1001. (Dkt. No. 96 at 17-18.)

      The recommendation goes astray for a variety of reasons. First, it finds

that the superseding indictment alleges only domestic violations of the Wiretap

Act. Specifically, it says that Counts One through Eight and Ten charge Hutchins

with illegal acts “in the state and Eastern District of Wisconsin and elsewhere,”

and Count One alleges various acts in furtherance of a conspiracy resulting in the

sale of UPAS Kit and Kronos to individuals in the Eastern District of Wisconsin.

(Rec. at 30-31.)

      But, to be clear, Mr. Hutchins does not challenge all the Wiretap Act counts

on the basis of improper extraterritorial application of United States law. He

only challenges Counts Two and Three, which allege that Mr. Hutchins violated

§§ 2512(1)(c)(i) and (ii) by disseminating and aiding and abetting the

advertisement of Kronos. As to its treatment of these counts, Mr. Hutchins

objects to the recommendation on this basis: while the superseding indictment

states broadly that these acts occurred “in the state and Eastern District of

Wisconsin and elsewhere,” it does not allege facts that support that claim.

      To the contrary, the superseding indictment alleges that Individual A (not

Mr. Hutchins) marketed and offered to sell Kronos on internet forums (i.e.,

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exploit.in, Darkode, and AlphaBay). (FSI ¶¶ 4(f), (g), and (k).) None of those

internet forums are alleged to be based in the United States, hosted on United

States servers, or otherwise have any connection to this country. And neither

Mr. Hutchins nor Individual A are alleged to have been located in the United

States at that time.

      The superseding indictment also claims that a video showing the

functionality of Kronos was posted on the video-sharing platform YouTube. (Id.

¶ 4(e).) It does not allege that either Mr. Hutchins or Individual A posted that

video, only that they pointed to the video to demonstrate how Kronos worked

and to promote its sale. (Id.) Again, the superseding indictment draws no link to

the United States; it alleges only that a video was posted on YouTube for all the

world to see. (Id.) It does not claim that Mr. Hutchins or Individual A

disseminated the video to anyone located in the United States, or even that it was

hosted on servers in the United States. Mr. Hutchins’ alleged actions were

performed abroad in the United Kingdom, and on the face of the indictment, no

specific act or result is alleged to have occurred within the United States. Thus,

the allegations relevant to Counts Two and Three do not reflect a domestic

application of a United States law.

      The recommendation next concludes that Counts One through Eight and

Ten do not violate Mr. Hutchins’ due process rights because, again, those counts

allege violations occurring in the state and Eastern District of Wisconsin and

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elsewhere. (Rec. at 32.) Mr. Hutchins objects because the mere allegation that a

crime was committed “in the state and Eastern District of Wisconsin and

elsewhere” does not create a “sufficient nexus” between the United States and a

foreign national to ensure that application of United States law “would not be

arbitrary or fundamentally unfair,” as the Fifth Amendment requires. United

States v. Davis, 905 F.2d 245, 248–49 (9th Cir. 1990). Whether Mr. Hutchins has a

sufficient nexus with this District to be haled into court here is a threshold matter

“totally distinct from the crime itself” and “must be considered” before the Court

determines whether Mr. Hutchins has criminal liability. United States v.

Perlaza, 439 F.3d 1149, 1168 (9th Cir. 2006).

      The superseding indictment fails to articulate a clear nexus between Mr.

Hutchins and the United States on Count One through Eight and Ten. The

recommendation does not address this critical fact. And those counts rely

heavily on Individual A and Individual B’s own completely distinct contacts

with the United States to charge Mr. Hutchins in this country. But other people’s

contacts cannot be imputed to Mr. Hutchins to create a sufficient nexus for

purposes of prosecution.

      The requirement is akin to the “minimum contacts” test for personal

jurisdiction in the civil context and “ensures that a United States court will assert

jurisdiction only over a defendant who should reasonably anticipate being haled

into court in this country.” United States v. Klimavicius-Viloria, 144 F.3d 1249, 1257

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(9th Cir. 1998) (internal quotation marks omitted). Under the “minimum

contacts” test, “[e]ach defendant’s contacts with the forum State must be assessed

individually.” Calder v. Jones, 465 U.S. 783, 790 (1984). Each person over whom a

court exercises personal jurisdiction must independently have sufficient contacts

with that forum. Walden v. Fiore, 134 S. Ct. 1115, 1122 (2014) (personal

jurisdiction depends on “contacts that the defendant himself creates with the

forum State”) (internal quotation marks omitted). The Court must find an

independent sufficient nexus for each individual.

      Finally, the recommendation concludes that Mr. Hutchins’ challenge to

Count Nine is “is premised on the claim rejected above that the indictment

charges Hutchins for conduct committed abroad.” (Rec. at 32.) As Mr. Hutchins’

argument on Count Nine relies on dismissal of the other counts for improper

extraterritorial application of United States law (Dkt. No. 96 at 17-18), he objects

to this finding for all those reasons.

      Mr. Hutchins asks the Court to reject the recommendation on the Motion

to Dismiss for Improper Extraterritorial Application of Law of July 13, 2018

(Docket # 96). The motion should be granted.




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                                CONCLUSION

      For all the above reasons, the Court should decline to adopt the magistrate

judge’s recommended denials and grant the motion to suppress and motions to

dismiss.


 DATED: November 9, 2018              Respectfully submitted,

                                        /s/ Brian E. Klein
                                       BRIAN E. KLEIN
                                       Baker Marquart LLP
                                       2029 Century Park E – Suite 1600
                                       Los Angeles, CA 90067
                                       Email: bklein@bakermarquart.com
                                       Telephone: (424) 652-7800

                                        /s/ Marcia Hofmann
                                       MARCIA HOFMANN
                                       Zeitgeist Law PC
                                       25 Taylor Street
                                       San Francisco, CA 94102
                                       Email: marcia@zeitgeist.law
                                       Telephone: (415) 830-6664

                                        /s/ Daniel W. Stiller
                                       DANIEL W. STILLER
                                       DStillerLLC
                                       Box 511130
                                       Milwaukee, WI 53203
                                       Email: dan@dstillerllc.com
                                       Telephone: (414) 207-3190

                                       Attorneys for Marcus Hutchins




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